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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


UNITED STATES OF AMERICA

-vs-                                                                   Case No.      1:14-cr-227-1-TCB

AARON BLAKE BUCKLEY
                                                                       Defendant's Attorney
                                                                       Jay L. Strongwater


                                     JUDGMENT IN A CRIMINAL CASE
                           (For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 3 of the Indictment.

Accordingly, the defendant is adjudged guilty of such counts which involves the following offenses:

Title & Section                      Nature of Offense                                       Count No.

18 USC§ 371                          Conspiracy to Commit Copyright Infringement

17 USC§ 506(a)(1 )(A) and            Criminal Copyright Infringement                              3
18 U.S.C. § 2319(b)(1) and
2

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $200.00 which shall be due immediately.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
thirty days of any change of name , residence , or mailing address until all fines , restitution , costs and special
assessments imposed by this judgment are fully paid .

Defendant's Soc. Sec. No.     XXX-XX-1672                     Date of Imposition of Sentence: April 10, 2018
Defendant's Date of Birth :   1994
Defendant's Mailing Address:
Moss Point, Mississippi 39562

Signed this the / /   +h   day of April , 2018 .




                                                                       TIM THY C. BATTEN , SR.
                                                                       UNITED STATES DISTRICT JUDGE
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                                                 PROBATION

The defendant is hereby placed on probation for a term of THREE (3) YEARS as to each of Counts 1 and 3,
to be served concurrently, for a total of THREE (3) YEARS ..                                     ·



The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

                        The defendant shall refrain from any unlawful use of a controlled substance. The
                defendant shall submit to one drug test within 15 days of placement on probation and at least
                two periodic drug tests thereafter, as directed by the probation officer.

                •        the above drug testing condition is suspended based on the court's determination
                         that the defendant poses a low risk .of future substance abuse. (Check, if
                         appropriate.)

        The defendant shall not possess a firearm as defined in 18 USC § 921 .

                  If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
        that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
        forth in the Criminal Monetary Penalties sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court (set
forth below). The defendant shall also comply with the additional conditions of the attached page.

                               STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal , state or local crime. In addition :

1.      The defendant shall not leave the judicial district without the permission of the court or probation
        officer;

2.      The defendant shall report to the probation officer as directed by the court or probation officer and
        shall submit a truthful and complete written report within the first five days of each month ;

3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the probation officer;

4.      The defendant shall support his or her dependents and meet other family responsibilities ;

5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training , or other acceptable reasons ;

6.      The defendant shall notify the probation officer within 72 hours of any change in residence or
        employment;

7.      The defendant shall refrain from the excessive use of alcohol and shall not purchase , possess, use ,
        distribute, or administer any narcotic or other controlled substance , or any paraphernalia related to
        such substances, except as prescribed by a physician , and shall submit to periodic urinalysis tests
        as directed by the probation officer to determine the use of any controlled substance;

8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed , or administered;
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9.      The defendant shall not associate with any persons engaged in criminal activity, and shall not
        associate with any person convicted of a felony un less granted perm ission to do so by the probation
        officer;

10.     The defendant shall permit a probation officer to vis it him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view by the probation officer;

11 .    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
        law enforcement officer;

12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
        the probation officer to make such notifications and to confirm the defendant's compliance with such
        notification requirement.



                                          SPECIAL CONDITIONS

The defendant shall participate in the home confinement incarceration program for a period of 365 days and
abide by all the requ irements of the program which will include electronic mon itoring or other location
verification system , if deemed necessary by the United States Probation Officer. The defendant shall pay all
or part of the costs of the program based upon his ability to pay as determined by the probation officer. The
defendant shall be restricted to his residence at all times except for medical needs or treatment, religious
services, and court appearances pre-approved by the probation officer.

Pursuant to 42 USC Section 14135a( d) and 10 USC Section 1565( d) , which require mandatory DNA testing
for Federal Offenders convicted of felony offenses, the defendant shall cooperate in the DNA collection as
directed by the probation officer.

The defendant shall not own , possess or have under his control a firearm , dangerous weapon , or other
destructive device as defined in 18 USC § 921 .

The defendant shall submit to a search of his or her person , property, house, residence , vehicle , papers
[computers (as defined in 18 U.S.C. § 1030(e)(1 )) , other electronic communications or data storage devices
or med ia], or office , conducted by a United States Probation Officer. Failure to submit to a search may be
grounds for revocation of release . The defendant shall warn any other occupants that the prem ises may be
subject to searches pursuant to this condition . The defendant shall permit confiscation and/or disposal of any
material considered to be contraband or any other item which may be deemed to have evidentiary value of
violations of supervision .

The defendant shall perform 20 hours of commun ity service as directed to do so by the Probation Office.

The defendant shall work toward and obtain his GED as directed by the United States Probation Officer.

The defendant shall submit to social counseling as directed by the United States Probation Officer and shall
be required to contribute toward the cost of such counseling not to exceed a reasonable amount as
determined by the Probation Officer.
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                                                FORFEITURE

The forfeiture of the defendant's right, title and interest in certain property is hereby ordered consistent
with the plea agreement. If applicable, the Un ited States shall submit a proposed order of forfeiture
forthwith .
